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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

AUSTIN RUNDE,

       Plaintiff,

v.                                                                      Case No: 8:20-cv-870-T-60JSS

RAMPS, LLC,

       Defendant.
                                                    /

                                      SCHEDULING ORDER
       Pursuant to Fed. R. Civ. P. 16, the Court finds it necessary to implement a

schedule tailored to meet the particular circumstances of this case which is based on the

Fair Labor Standards Act (“FLSA”). Therefore, consistent with the just, speedy and

inexpensive administration of justice (Fed. R. Civ. P. 1), it is

       ORDERED that the provisions of Rule 26 (a)(1) and Local Rule 3.05 (c)(2)(B) and

(d) concerning the initial disclosures and filing of a case management report are hereby

waived in this case. Instead, the parties shall comply with the following schedules.

       1.         No later than fourteen (14) days from the date of the service of the

complaint, Plaintiff shall answer the Court's Interrogatories (attached to this Order) under

oath or penalty of perjury, serve a copy on Defendant, and file same with the Court.

       2.         No later than fourteen (14) days after the Plaintiff files an answer to the

Court’s interrogatories, the parties shall serve upon each other (but not file) copies of the

following:

       Plaintiff 1        All documents in Plaintiff's possession, custody or control that pertain
                          to the unpaid wages claimed in the Complaint.
       1   If there is more than one plaintiff or defendant, the singular reference to plaintiff or defendant



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        Defendant:       All time sheets and payroll records in Defendant's possession,
                         custody or control that pertain to work performed by Plaintiff during
                         the time period for which Plaintiff claims unpaid wages.

        3.      In collective actions, an exchange of documents as referenced in Paragraph

1 shall occur with respect to opt-in Plaintiffs who join the action prior to the dissemination

of a court-approved opt-in notice. Said exchange of documents shall occur within twenty-

one (21) days of their filing of opt-in notices with this Court, and such opt-in Plaintiffs shall

thereafter file and serve their respective answers to the Court's Interrogatories within an

additional twenty-one (21) days.

        4.      No later than twenty-eight (28) days after the parties exchange all required

documents as outlined in paragraph 2, counsel for Plaintiff and Defendant shall meet and

confer in person in a good faith effort to settle all pending issues, including attorneys' fees

and costs. 2 The parties, including a representative of each corporate party with full

settlement authority, shall be available by telephone during the conference to consider

and approve any settlement negotiated by counsel. Counsel shall have full authority to

settle, and shall set aside sufficient time for a thorough, detailed, and meaningful

conference that is calculated to fully resolve the case by agreement.

        5.      No later than fourteen (14) days after the settlement conference, counsel

shall jointly file a Report Regarding Settlement that notifies the Court whether: 1.) the

parties have settled the case; 2.) the parties have not settled the case but wish to continue

settlement discussions for a specific period of time; 3.) the parties wish to engage in a

formal mediation conference before a specific mediator on or before a specific date; 4.)


shall include plural.
         2 In the case of an individual party who is not represented by counsel, the individual shall comply

with the provisions of this Order.



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either party requests a settlement conference before the United States Magistrate Judge

who upon the consent of the parties shall have the authority to approve the settlement as

a 'fair and reasonable resolution of a bona fide dispute" over FLSA issues without

additional filings made by the parties. See Lynn's Food Stores, Inc. v. United States, 679

F.2d 1350, 1354-55 (11th Cir. 1982); or 5.) the parties have exhausted all settlement

efforts and will immediately file a Case Management Report 3 signed by counsel for all

parties.

       6.      The parties may consent to the conduct of all further proceedings in this

case by the United States Magistrate Judge (consent form attached). Absent consent,

the Magistrate Judge shall prepare a report and recommendation as to whether any

settlement is a 'fair and reasonable resolution of a bona fide dispute' over FLSA issues.

See Lynn's Food Stores, Inc. v. United States, 679 F.2d 1350, 1354-55 (11th Cir. 1982);.

       7.      Until the parties file the Case Management Report, all discovery in this case

is STAYED, except as provided in this Order.

       8.      In the event that no settlement is reached pursuant to these procedures,

and this Court later grants a motion permitting notice to be sent to similarly situated

individuals advising them of their right to opt-in to this action, the limitations period for any

person receiving notice shall be tolled during the period from the date of this Order until

the parties file a Case Management Report lifting the stay on these proceedings.

       9.      Should the parties settle the dispute at any later time, they shall immediately

advise the Court as required by Local Rule 3.08(a) and promptly submit a joint motion to

approve the settlement.


       3  CMR forms are available online at http://www.flmd.uscourts.gov, then select Judicial
Information, District Judges, and, under the appropriate judge’s name, Case & Trial Management Forms.



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       10.    Due to the volume of cases based on the FLSA, the Court expects strict

adherence to these deadlines. Exceptions will be granted only for compelling reasons.

Failure to comply may result in the imposition of sanctions, including but not limited to the

dismissal of the case and the striking of pleadings.

       11.    Either party, for good cause shown, may move to alter this schedule should

the circumstances so warrant.

       DONE and ORDERED in Chambers in Tampa, Florida, on 14th day of May, 2020.




                                                  TOM BARBER
                                                  UNITED STATES DISTRICT JUDGE


Copies furnished to:
Counsel of Record
Unrepresented Parties




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                    COURT’S INTERROGATORIES TO PLAINTIFF

1.   During what period of time were you employed by the Defendant?

2.   Who was your immediate supervisor?

3.   Did you have a regularly scheduled work period? If so, specify.

4.   What was your title or position? Briefly describe your job duties.

5.   What was your regular rate of pay?

6.   What is the nature of your claim (check all that apply)?

     _____Off the clock work (Defendant failed to record, or prohibited you from
          recording, all of your working time;

     _____Misclassification (Defendant mistakenly classified you as exempt from
          overtime);

     _____Miscalculation (Defendant failed to correctly calculate your compensation);

     _____Other (Please describe):
          ___________________________________________________________

            ___________________________________________________________



7.   Provide an accounting of your claim, including:

     (a)    dates

     (b)    regular hours worked

     (c)    over-time hours worked

     (d)    pay received versus pay claimed

     (e)    total amount claimed


8.   If you have brought this case as a collective action:

     (a)    Describe the class of employees you seek to include in this action.




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       (b)     Has an opt-in notice been filed for every potential opt-in Plaintiff who has
               identified himself or herself as a person who wishes to join this action?

9.     Please specify all attorney's fees and costs incurred to date. With respect to
       attorney's fees, please provide the hourly rate(s) sought and the number of hours
       expended by each person who has billed time to this case.

10.    When did you (or your attorney) first complain to your employer about alleged
       violations of the FLSA?

11.    Was this complaint written or oral? (If a written complaint, please attach a copy).

11.    Was this complaint written or oral? (If a written complaint, please attach a copy).

12.    What was your employer’s response? (If a written response, please attach a
       copy).


                                               ________________________________
                                               (Plaintiff Name)



STATE OF FLORIDA
COUNTY OF ___________

        The foregoing instrument was acknowledged before me by means of ___ physical presence or
___ online notarization by Austin Runde, who being first duly sworn, deposes and says that he/she has
read the foregoing Answers to Interrogatories, knows the contents of same, and to the best of his/her
knowledge and belief, the same are true and correct.

       SWORN TO AND SUBSCRIBED before me on this ____day _______________, 20 ____.

                                                        NOTARY PUBLIC



                                                        ____________________________________
                                                        Signature of Person Taking Acknowledgment
Notary Stamp                                            Print Name:
                                                        Title: Notary Public
                                                        Serial No. (if any):
                                                        Commission Expires:




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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

AUSTIN RUNDE,

         Plaintiff,

v.                                                                         Case No: 8:20-cv-870-T-60JSS

RAMPS, LLC,

         Defendant.


 NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge's availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final
judgment. The judgment may then be appealed directly to the United States court of appeals like any other
judgment of this court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

         You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case,

        Consent to a magistrate judge's authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial
proceedings.

Printed names of parties and attorneys          Signatures of parties or attorneys                 Dates




                                               REFERENCE ORDER
        IT IS ORDERED that this case be referred to a UNITED STATES MAGISTRATE JUDGE for all further
proceedings and order the entry of a final judgment in accordance with 28 U.S.C. 636(c), Fed. R. Civ. P. 73.



              DATE                                                          THOMAS P. BARBER
                                                                      UNITED STATES DISTRICT JUDGE

NOTE:    RETURN THIS FORM TO THE CLERK OF COURT ONLY IF YOU ARE CONSENTING TO THE EXERCISE OF JURISDICTION BY
         A UNITED STATES MAGISTRATE JUDGE. DO NOT RETURN THIS FORM TO A JUDGE.
